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EXHIBIT N
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From: Richmond, John <John.Richmond@unt.edu>
Sent: Friday, July 31, 2020 9:35 AM
To: music faculty <musicfaculty@unt.edu>; music staff <musicstaff@unt.edu>; Music Adjunct <MusicAdjunct@unt.edu>
Cc: Cowley, Jennifer <Jennifer.Cowley@unt.edu>
Subject: Regarding the Journal of Schenkerian Studies

The University of North Texas College of Music has begun a formal investigation into the conception and
production of the twelfth volume of the Journal of Schenkerian Studies, which is published by the Center for
Schenkerian Studies and UNT Press. The University, the College of Music, and the Division of Music History,
Theory, and Ethnomusicology reaffirm our dedication to combatting racism on campus and across all
academic disciplines. We likewise remain deeply committed to the highest standards of music scholarship,
professional ethics, academic freedom, and academic responsibility.

John W. Richmond, Ph.D.
Professor and Dean of the UNT College of Music

Benjamin Brand, Ph.D.
Professor and Chair of the UNT Division of Music History, Theory, and Ethnomusicology




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